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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION


 IN RE:
                                                           MDL No. 3089
 ORAL PHENYLEPHRINE MARKETING
 AND SALES PRACTICES LITIGATION


                           SCHEDULE OF RELATED ACTION


             Case Name                     Court              Case No.              Judge
 Plaintiffs:                         District of          3:23-cv-20895
 Shawn L. Thomas and Charles         New Jersey
 Geoffrey Woods

 Defendants:
 Kenvue, Inc., McNeil Consumer
 Healthcare, Proctor & Gamble Co.,
 Bayer Corporation, and Bayer
 Healthcare LLC


Dated: October 5, 2023                             KESSLER TOPAZ
                                                    MELTZER & CHECK LLP


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                                                   and Charles Geoffrey Woods
